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            4
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            5
                 YGNACIA BRADFORD
            6

            7
                                           IN THE UNITED STATES DISTRICT COURT
            8
                                        FOR THE EASTERN DISTRICT OF CALIFORNIA
            9
                                                      SACRAMENTO DIVISION
            10

            11
                 UNITED STATES OF AMERICA,                        ) Case No. CR S 10-0223-JAM
            12                                                    )
                                             Plaintiff,           )
            13                                                    ) PROTECTIVE ORDER CONCERNING
                        vs.                                       ) FORENSIC COMPUTER EVALUATION
            14                                                    )
                                                                  )
            15                                                    )
                 YGNACIA BRADFORD,                                )
            16                                                    )
                                             Defendants.          )
            17                                                    )
            18

            19   [PROPOSED] ORDER
            20           IT IS HEREBY ORDERED AS FOLLOWS:
            21           1.      The Federal Bureau of Investigation made a duplicate copy of the hard
            22   drive and any other storage media available for defense analysis.
            23           2.      The duplicate copies of the hard drive and storage media shall be made
            24   available for defense counsel, Joseph J. Wiseman, Esq. and Jennifer C. Noble, Esq., and
            25   defendant’s proposed expert, Robert Beegle, Delta Phase, Inc., to review at the High
            26   Tech Task Force offices in Sacramento, California for the purpose of preparing for the
            27   defense of the above-entitled action. The images on the hard drive and storage media
            28   shall not be viewed by any other person.


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                 Proposed Protective Order                                        Case No. CR.10-0223 JAM
                 Regarding Defense Forensic Computer Evaluation
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            1            3.      A private room will be provided for the defense examination. No
            2    Government agents will be inside the room during the examination;
            3            4.      The expert will be permitted to bring whatever equipment, books, or
            4    records he believes may be necessary to conduct the examination;
            5            5.      Neither the defense expert nor defense attorneys nor the defense paralegal
            6    shall remove the hard drive or other storage media from the confines of the law
            7    enforcement office.
            8            6.      With the exception of materials that would be considered child
            9    pornography under federal law (including visual depictions and data capable of
            10   conversion into a visual depiction), the expert may download and remove files or
            11   portions of files, provided the forensic integrity of the hard drive is not altered. The
            12   expert will certify in writing (using the attached certification), that he has taken no
            13   materials which would be considered child pornography, or data capable of being
            14   converted into child pornography, (under federal law) and that he has not caused any
            15   child pornography to be sent from the law enforcement premises by any means
            16   including by any electronic transfer of files.

            17           7.      Except when a defense expert fails to provide this certification, no

            18   Government agent, or any person connected with the Government, will examine or

            19   acquire in any fashion any of the items used by the expert in order to conduct the

            20   defense analysis. Should a defense expert fail to certify that the expert has not copied or

            21   removed child pornography, or data capable of being converted into child pornography,

            22   Government agents may then inspect or examine the materials in order to ensure that

            23   prohibited child pornography has not been removed.

            24           8.      When the defense indicates that it is finished with its review of the copy of

            25   the hard drives, the drive(s) or other storage devices shall be "wiped" clean.

            26   /////

            27   /////

            28   /////



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            1            9.      Any disputes regarding the above or problems implementing this order
            2    shall be brought to the attention of the court through representative counsel after first
            3    consulting opposing counsel.
            4

            5
                 IT IS SO ORDERED:
            6
                 Dated: March 28, 2012                                /s/ John A. Mendez_______
            7                                                         U. S. District Court Judge
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                    IN THE UNITED STATES DISTRICT                                    COURT
                                                                  3

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            1                           FOR THE EASTERN DISTRICT OF CALIFORNIA
            2                                         SACRAMENTO DIVISION
            3

            4

            5    UNITED STATES OF AMERICA,                        ) Case No. CR S 10-0223-JAM
                                                                  )
            6                                Plaintiff,           )
                                                                  )
            7           vs.                                       )
                                                                  )
            8                                                     )
                                                                  )
            9    YGNACIA BRADFORD,                                )
                                                                  )
            10                                Defendants.         )
                                                                  )
            11                                                    )
                                                                  )
            12

            13
                                                          CERTIFICATION
            14
                         I, __________________________, certify under penalty of perjury that I have not copied
            15

            16
                 or removed any images of child pornography or data capable of being converted into images of

            17   child pornography, or caused the same to be transferred electronically (or by any other means) to
            18   any other location, during the course of my review of the evidence in this case.
            19

            20
                 Dated: ________________                              _____________________________
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